
In re Torrey, Mary; applying for writ of certiorari and/or review, prohibition, mandamus and stay order; Parish of Jefferson, Juvenile Court, Parish of Jefferson, Div. “C”, No. 85-C-81; to the Court of Appeal, Fifth Circuit, No. 85-K-631.
Granted. Further execution of sentence stayed and relator is ordered released subject to this order. The state is permitted to show cause in writing within five days why the contempt judgment should not be reversed because of (1) excessiveness of the penalty or (2) failure to comply with C.C.P. *718Art. 223, or both. Otherwise relator’s sentence is vacated.
WATSON, J., would deny on the showing.
